EXHIBIT 23
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     Leo Terrell, Senior Counsel to the Attorney
     General for Civil Rights, On Crushing Anti-
     Semitism On Campus
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     Leo Terrell is the new Senior Counsel in the Division of Civil Rights at the DOJ, who is
     leading a task force for Attorney General Pam Bondi aimed at stamping out anti-Semitism on
     the campuses of the United States.

     Audio:

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     Transcript:

     HH: I’m pleased to welcome to the program this morning Leo Terrell. He is senior counsel to
     Attorney General Pam Bondi in the Civil Rights Division. And Leo may not remember this, but
     he was my guest on the old Life and Times show that I hosted for ten years in L.A. from 1992
     to 2002, because Leo and I have been doing this a while. He’s also a very expert
     broadcaster, superb lawyer. He’s a young man. He’s a year younger than I am, so he’s a
     young man. But I am so glad to see you at the Civil Rights Division, Leo. Welcome. How are
     you?

     LT: Hugh, I remember that. Was that on KCET?

     HH: You bet. Life and Times.

     LT: You better believe it. It was a great program. And to answer your question, I am extremely
     happy. I am very happy that President Trump appointed me to this position. I’m very happy to
     work with Pam Bondi. This is something that as a civil rights attorney for 30 years, it is a
     privilege to serve this country, and I’m glad to be on your show.




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     HH: You know, Leo, we’ve got about, out of law school about the same time, and I did a
     clerkship, and then I went over to DOJ working as a special assistant for Ed Meese and Bill
     Smith. And now it’s been 40 years, and I’m in radio, and you’re back at DOJ. So things turn
     around. You know, things change. But you did a great thing last week. You cut off $400 million
     dollars to the Columbia University in order to stop their continued non-protection of Jewish
     students on their campus pursuant to Title VI of the Civil Rights Act of 1964. Do I have that
     right?


     LT: Yes, you are 100% correct. Title VI is the mechanism to defund Columbia of $400 million
     dollars.

     HH: So what did you actually do? Let’s wonk out and be a little bit lawyerly with me. Did you
     send them a notice letter? Did you send a letter to everyone in the federal government saying
     no more money for Columbia? How did it actually roll out?

     LT: Well, it’s important that your viewers and listeners understand what I am doing. I am part
     of a task force to combat anti-Semitism. President Trump, Hugh, issued an executive order.
     He wants to eradicate anti-Semitism in this country. If you recall, the last administration turned
     their backs on the Jewish-American community, turned their backs on Jewish students. So
     President Trump gave Pam Bondi and the DOJ a directive. Eradicate anti-Semitism
     throughout the country, and at the schools – at Columbia and Harvard, NYU, at UCLA where I
     went to law school at. And so we created a task force. And part of that task force
     responsibility was to go after these anti-Semitic universities that receive federal funding.
     President Trump and Pam Bondi will not have taxpayers’ dollars subsidize anti-Semitic
     behavior. And we’re going to take their money away.

     HH: And I am applauding this. I think this is great. My alma maters are Harvard undergrad
     and Michigan Law School. And you can go after then second and third. Cut them off well,
     because they have not protected their Jewish students, either. UCLA is an absolute disgrace.
     It’s all over this country. Anti-Semitism has exploded. I’m just wondering how you do it. I
     mean, just as a practical lawyering matter, I practiced law. I’m not retired, but I’m not taking
     any more clients. I just don’t know, did you send them a letter? Do you just cut the checks
     off? What do you do?

     LT: Well, you first of all give them notice, because remember, Hugh, they have an obligation
     under Title VI to provide education opportunities and not to discriminate against protected
     class status – religion, color, ethnicity. And basically, they were receiving taxpayer dollars
     illegally, because they were not protecting Jewish-American citizens. And so what we did was
     we basically gave them noticed, and we stopped providing the funding. And I’ve got news for
     you. To Harvard, to NYU, to Michigan, same thing’s happening to them. It’s going to happen,

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     because we’re going to look at the numbers of federal dollars, and Hugh, it totals in the
     hundreds of millions of dollars. And we’re going after them.

     HH: You are, you’re doing the Lord’s work. The Civil Rights Act of 1964 is very explicit that
     you may not discriminate against students based upon their ethnicity or race, and Jews are
     both an ethnicity and a race. And they’ve been discriminated against. So they shouldn’t get
     any federal money. I just want to know the evidentiary basis that you’re going to use going
     forward. If you’re sitting out, let’s say The Ohio State University, The Ohio State University,
     the national football champions, they had some anti-Semitism last year. They brought the
     hammer down on it, and they stopped it. Are they going to get a letter? I mean, what do they
     have to worry about? How far back are you looking? Or are you just looking about right now?

     LT: Well, no. We’re looking back in the number of years that the statute of limitations allows
     us not only under Title VI, Hugh, but Title VII as well. Title VII protects the employer-employee
     relationship. There are Jewish professors, Jewish student workers. So what we have is to
     follow the statute of limitations on both not only Title VI, but Title VII. And it applies to all
     these universities that not only receive federal funds, but have to follow the Civil Rights Act
     regarding the employer-employee relationship. They can’t discriminate based on, again,
     protected class status – race, religion, ethnicity.

     HH: Have you got a stack of complaints from professors who feel that they’ve been
     discriminated against on the…

     LT: (nods yes)


     HH: Good. Investigate them all. The guy whose picture is up here, Ronald Reagan, when I
     was at Justice Department, his division of Civil Rights was run by William Bradford Reynolds.
     His deputy was Chuck Cooper. They were the brass knuckled enforcers. They were really
     good lawyers. The Civil Rights Division went way left, Leo. Did you find, is anyone on the task
     force with you? Have you got anyone else to work with there, because they went way to the
     left.

     LT: You are 100% correct. The Civil Rights Division, when the Trump team came in, way, way,
     way, let me say it again, way left. Pam Bondi, President Trump have made a determination
     very simply. Everyone’s going to be treated fairly. If you’re far left, you’re not going to be part
     of this DOJ team that’s going to eradicate not only anti-Semitism. The Trump and Bondi
     administration just wants a level playing field. No one’s treated preferentially better than
     others. Everyone’s treated equally. The Jewish community has been treated unfairly. And I
     have to say this, Hugh. It’s not only at the universities. Look at these blue cities that have
     turned their back on the Jewish community in New York, in Chicago and L.A. Where are the

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     hate crime charges? Pam Bondi and President Trump have given us a directive to stop it. And
     those cities are going to lose their funding as well.

     HH: So you need prosecutors, because you can prosecute people. It’s a crime to violate
     people’s civil rights. It’s not only a federal forfeiture of funds, it’s a crime. Are you going to
     have enough lawyers to work with? I mean, is there anyone in the Civil Rights Division left,
     because they were all wokesters? And when you came in, you knew they were all wokesters.
     Have they left?


     LT: Well, I’ll tell you right now. As you know, there are procedures. They safeguard for
     employees who have been here for a while. We’re working through them. But I’ll tell you right
     now. Pam Bondi has made it a directive. Get the work done, work through these people.
     We’re hiring people, because we have an obligation to make sure Jewish-Americans can be
     treated fairly at the universities, and I take that order to heart, and that’s why we’re complying
     not only with Pam Bondi’s directive, but President Trump’s executive order. We’re obligated to
     do it, Hugh, and we’re doing it. And not only are we going to these ten schools just as our first
     step, we’re going to these four cities – [New York], Boston, Chicago, Los Angeles, and talk to
     their mayors, talk to their district attorneys, do the job of prosecuting hate crimes, or the U.S.
     Attorneys office, the DOJ’s office, will do it for them.

     HH: So going back to nuts and bolts, Leo. You’re a real lawyer, as opposed to a lot of people
     who play one on TV. You’re a real lawyer. You know Columbia’s going to come at you and try
     to get their money back. Have they done that, yet? Have they filed an attempt to enjoin your
     enforcement action against their federal funding?


     LT: Let me answer that. No, they haven’t, but they’re trying to change their ways. But it’s not
     good enough. They’re talking about making changes. Not good enough. We haven’t seen the
     evidence. We have not seen any type of evidence. There’s been communications, Hugh. I can
     only go that far and disclose, but what they have done is not enough. And the motivation,
     Hugh, is wrong. They’re only talking to us now because we took away their money. The issue
     is not the money. The issue is treating Jewish-American students fairly. Are they motivated by
     the money?

     HH: Now you’ll remember, Leo, whenever we had findings of discrimination that were systemic
     in a school district, for example, the federal judge involved would take over the school district.
     I’d like to see the Department of Justice get a consent decree where Columbia gets a new
     law school dean, they get a new president, a new board, a new department of history, a new
     set of reasonable time, place, and manner regulations for a speech on campus that ban
     masks. I’d like to see monetary payment to students whose lives were disrupted for the last
     two years, because they paid a lot of, they pay $75,000 dollars to go to Columbia and they

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     couldn’t go to class? I mean, I really want you to bring the hammer down. Is that your
     intention?

     LT: Yes. Let me think about that. Yes, yes, and yes. And I’ll tell you right now, Hugh, we have
     an investigation going on against a UC regent in California. And I’ll tell you right now,
     injunctive relief, pattern and practice is on the table. So we’re using every tool in the toolbox.
     I’ve been a civil rights attorney for 30 years.


     HH: Yeah, I know.

     LT: I know how to go after these guys. And I’m telling you, I cannot thank Pam Bondi and
     President Trump enough. They have told me to go after them. You talk about a hammer, I’m
     talking about a hammer, a cannon, grenades. We’re going after these schools, and we’re
     going to deter this conduct and make sure it never occurs again. What happened before…

     HH: Give me a couple of bits of information. You need some nails. You are the hammer, but
     you need some nails. You need some young lawyers, you need some special assistants. You
     need Todd Blanche to return your phone call, the deputy attorney general. You need some
     special assistants on the 5th floor. Is there a chain of command? Or have they just sent you
     out there on the good ship Leo Terrell to go off and right wrongs? Or are they backing you
     up? Are they checking in every day and making sure you’re getting what you need?

     LT: I want everyone to hear this. I am blessed to have Pam Bondi and Todd Blanche. They
     have given me a directive, and given me the resources I need. They have never said no when
     it comes to eradicating anti-Semitism. And I’ll tell you right now, Hugh. The Trump
     administration and the DOJ, we’re on the same channel. Everyone’s working together. We
     have the right management team in place with Pam Bondi and Todd Blanche.

     HH: Okay, last couple of questions, Leo. You started with Columbia. Who’s the next target? I
     want it to be Harvard, and I want it to be Michigan, and I want it to be UCLA, but I don’t get
     to pick the targets. I’m a talking head. You’re the lawyer. Who’s the next target?

     LT: I’m going to give you a little breaking news. It’s one of those three schools. I can’t disclose
     it right now, because I’ll get in trouble. But one of those three schools. I just gave you some
     breaking news.

     HH: All right, give me a little on that. How much money’s involved?

     LT: (laughing)


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     HH: Come on, Leo.

     LT: Now you’re asking for too much. I’ll take you out to dinner. I’ll take you out to dinner.

     HH: Is it bigger than Columbia?

     LT: If I tell you here, I don’t want to get in trouble.


     HH: Is it bigger than Columbia?

     LT: President Trump and Pam Bondi are watching. They’re my bosses. I can’t breach my
     relationship with my bosses. I’ll tell you right now.

     HH: All right, I get it. Leo…

     LT: They’re going to get the hammer.

     HH: God, it is good to see you on the side of the angels, and it’s great to know that the Civil
     Rights Division’s got a new Brad Reynolds and a new Chuck Cooper. God bless you. By the
     way, who is the assistant Attorney General for Civil Rights? Have we got one nominated, yet?

     LT: Oh, yes, we have one. And she, it’s Harmeet Dhillon.

     HH: Oh, yes.


     LT: She’s going to be a tsunami in here. She’s going to be great. Can’t wait for her to get
     here.

     HH: Now you know, this is like the old days. And I’m so happy you’re there, Leo. Keep coming
     back. Keep talking to me. It’s great to have someone who knows what they’re doing on the
     side of the angels. Leo Terrell, special advisor in the division of Civil Rights, Department of
     Justice, thank you for joining me on the Hugh Hewitt Show.

     End of interview.




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